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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA
                                                                 23-CR-118 (AT)
                 v.

    HO WAN KWOK, et al.,                                         [Proposed] Order

                          Defendants.



         It is hereby ORDERED that counsel for Defendant Ho Wan Kwok, as well as any retained

investigators and defense expert(s), in the above-captioned action be given access to the Sherry-

Netherland Apartment,1 which is currently in the control of the bankruptcy trustee, Luc A.

Despins, in In re Ho Wan Kwok, et al., Debtor, Case No. 22-50073 (JAM) (Bankr. D. Conn.),

prior to the sale of the property in order to conduct a non-destructive inspection of the property

and to document by video and photographic equipment the property’s current condition.

         SO ORDERED.


Dated:                               , 2023



                                                             HONORABLE ANALISA TORRES
                                                             UNITED STATES DISTRICT JUDGE




1
 The Sherry-Netherland Apartment is located at 781 Fifth Avenue, New York, New York 10022, and is comprised
of Apartments 1801, MR 2219, and MR 719.
